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  7
                          UNITED STATES DISTRICT COURT
  8
  9                      CENTRAL DISTRICT OF CALIFORNIA

 10

 11 PCR DISTRIBUTING CO.,                       Case No. 2:24-cv-07453-CV-AJR

 12               Plaintiff,                    PLAINTIFF’S OPPOSITION TO
 13                                             DEFENDANTS’ MOTION TO
      vs.                                       DISMISS AND STRIKE FIRST
 14                                             AMENDED COMPLAINT
 15 JOHN DOES 1 – 10, d/b/a
      NHENTAI.NET and NHENTAI.TO,
 16                                             Date: March 28, 2025
 17               Defendants.                   Time: 1:30 p.m.
                                                Judge: Hon. Cynthia Valenzuela
 18                                             Courtroom: 5D
 19                                             Place: U. S. Courthouse
                                                       350 West First Street
 20                                                    Los Angeles, California 90012
 21

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            PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS AND STRIKE FAC
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  1                   MEMORANDUM OF POINTS AND AUTHORITIES
  2 I.       INTRODUCTION
  3          PCR, a creator and distributor of premium hentai (Japanese adult amination)
  4 art and publications, brought this case against Defendants, 1 the owners and operators

  5 of one or more pirate websites known as “nHentai,” to try to put a stop to Defendants’

  6 brazen infringement of PCR’s copyrights. Defendants now move to dismiss or strike

  7 the First Amended Complaint (“FAC”) (the “Motion”).

  8          Defendants’ Motion is an ill-conceived and specious attempt to litigate
  9 numerous disputed issues of fact through an attack that is supposed to focus on the

 10 face of the pleadings. The Motion should be denied in its entirety. 2

 11          It is axiomatic that the well-pleaded allegations must be accepted as true on a
 12 12(b)(6) motion. Yet Defendants’ Motion seeks to dispute virtually all of the key

 13 factual allegations in the FAC. And the Motion attempts to do so almost entirely

 14 through either no evidence or inadmissible evidence that is often inaccurate at best,

 15 or affirmatively misleading at worst.

 16          For instance, Defendants claim that PCR cannot maintain copyright
 17 infringement claims because some of the infringed works are registered in the name

 18 of “JAST USA,” and thus that PCR is not the “owner” of these copyrights. The FAC
 19
      1
        PCR sued “John Does 1 – 10, d/b/a nHentai.net and nHentai.to” because it was unaware of the true
 20
      identities of the owners and operators of the websites infringing PCR’s copyrights. The defendants
 21   moved for a protective order seeking to avoid disclosing their identities. (Dkt. 32.) On February 7,
      2025, Magistrate Judge Richlin denied Defendants’ request and ordered them to stop using
 22   pseudonyms, but stayed his order for 14 days “to permit Defendant the opportunity to seek review
      of this Order from the District Judge.” (Dkt. 45 at 8.) Instead of “seek[ing] review” by filing a motion
 23   as required by Local Rule 72-2.1—and first meeting and conferring with PCR’s counsel pursuant
      to Local rule 7-3—Defendants filed “objections” to the Order, without noticing a hearing date. (Dkt.
 24
      50.) PCR is separately moving to strike Defendants’ procedurally improper and substantively
 25   baseless “objections.” Because PCR is still unaware of the defendants’ identities after seven months
      (see Dkt. 1), they are referred to generically herein as “Defendants.”
 26
     In violation of Local Rule 7-4, the caption page and “notice” of the Motion do not state the hearing
      2
 27 date. (Dkt. 47 at 1:22 (“Date: TBD”); see id. at 2:1-5.) This alone is grounds to deny the Motion.
    See Local Rule 7-4 .
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  1 unambiguously asserts that PCR owns all the registered copyrights presently at issue

  2 in this case. This assertion alone suffices to defeat a motion to dismiss, regardless of

  3 the specifics of the copyright registrations. In any event, the FAC also unambiguously

  4 states that JAST USA is merely a fictitious business name for PCR. In a misguided

  5 effort to contradict this well-pleaded allegation, defense counsel submitted a

  6 declaration stating that she was unable to locate the applicable fictitious business

  7 name filing. But it can be readily located with a simple search in a manner of seconds.

  8        Defendants argue that because PCR registered their graphic novels or comic
  9 books with the Copyright Office as “literary works,” they have no copyrights in any

 10 images. But a graphic novel incorporates both text and images, and so can be

 11 registered either as a “literary work” or a “visual work.” And Defendants argue that

 12 there is not enough translated text to warrant copyright protection, but cherry-pick a

 13 handful of words or phrases, while ignoring hundreds of pages of dialogue. Once

 14 again, this is too factual for the motion to dismiss stage when a registration is

 15 presumed valid.

 16        Defendants make several arguments based on the claim that PCR consented to
 17 Defendants’ infringement for years. As “evidence,” Defendants cite several emails

 18 attached as “exhibits” to the Motion itself, or to statements in an attorney’s declaration
 19 purporting to recount what the attorney saw when visiting various web pages. This

 20 “evidence” is inadmissible and unavailing. It lacks authentication; violates the best

 21 evidence rule; at best creates a factual dispute as to when the infringement

 22 commenced, which cannot be resolved on a motion to dismiss; and pertains to less

 23 than all of the copyrights.

 24        Defendants’ motion to strike fares no better. They assert—without evidence—
 25 that the website “www.nhentai.to” is unrelated to “www.nhentai.net.” They claim—

 26 with no citation to authority—that the FAC’s allegations regarding Defendants’

 27 routine infringement of others’ copyrights is irrelevant, when it obviously relates to

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  1 Defendants’ willfulness and thus their liability for enhanced statutory damages and

  2 attorneys’ fees. And Defendants argue that the injunctive relief requested in the FAC

  3 must be stricken, without citing any legal authority that such relief is unavailable as a

  4 matter of law (it isn’t).

  5 II.    SUMMARY OF COMPLAINT
  6        PCR, dba JAST USA, creates, acquires, translates, and distributes premium
  7 hentai art and publications from Asia to the U.S., delivering high-quality collectible

  8 products to a niche audience. (FAC ¶ 1.) PCR monetizes its operations through online
  9 advertising and its online platforms that drive users toward purchasing games,

 10 physical books, and merchandise. (Id. ¶ 4.) PCR also offers high-value, one-of-a-kind

 11 art pieces at trade shows. (Id.) PCR owns copyrights in numerous works, including

 12 the “Subject Works” at issue in this case. (Id. ¶¶ 2-3, 6, 28-31, 69-70.)

 13        NHentai.net is a website that displays pirated copyright-registered adult
 14 entertainment content without authorization or license. (Id. ¶¶ 38, 42.) NHentai.net

 15 thus does not incur the costs associated with content production. (Id. ¶ 38.) PCR’s

 16 Subject Works appear on thousands of pages of the nHentai.net website. (Id. ¶ 51.)

 17 Since the original complaint was filed, PCR has learned of additional instances of

 18 infringement by Defendants. (Id. ¶¶ 55-59.) Defendants’ use of PCR’s copyrighted
 19 works is unauthorized. (Id. ¶¶ 32, 50-51, 71-73.) Defendants have routinely

 20 disregarded take-down notices issued by PCR. (Id. ¶¶ 6, 48, 52-54, 61-63.)

 21        Defendants’ website garners roughly 1 billion visits per year, and they monetize
 22 their copyright infringement through advertisements on the site. (Id. ¶¶ 39, 43-44.)

 23 The owners and operators of nHentai.net are directly involved in the infringement and

 24 upload all content themselves, i.e., third parties cannot upload content. (Id. ¶¶ 6, 40-

 25 41, 49, 77-78.) However, users can download content at will, and nHentai takes no

 26 measures to ensure that users do not download or republish copyrighted work. (Id. ¶

 27 47.) NHentai facilitates and actively encourages further infringement by users, since

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  1 it drives traffic to the site and increases ad revenue. (Id. ¶¶ 46, 66-67, 87-90, 96-98,

  2 106-108.)

  3        The FAC brings claims for direct, vicarious, contributory, and inducement of
  4 copyright infringement, and seeks damages, statutory remedies, and injunctive relief.

  5 III.   ARGUMENT
  6        A.     PCR Properly Pleads Copyright Infringement
  7               1.     Defendants’ Argument That PCR Failed to Properly Plead
  8                      Ownership Is Specious
  9        Defendants point out that “[a]s to four of the seven asserted copyrights, the
 10 Copyright Office documents show JAST USA, not PCR, as the ‘copyright claimant’

 11 and apparent legal owner.” (Mot. at 4:18-20.) But the FAC clearly alleges that JAST

 12 is simply a registered fictitious business name (or “dba”) of PCR Distributing Co.

 13 (FAC ¶ 24). Thus, PCR is the registered copyright owner of those four copyrights

 14 (along with the three other copyrights that Defendants apparently concede are

 15 registered in PCR’s own name).

 16        Defendants nevertheless try to persuade this Court that the allegation in the
 17 FAC—that JAST is merely a dba of PCR—is factually false. Specifically, Defendants

 18 assert: “Nhentai.net’s counsel conducted searches by the filing number and all
 19 variations of the entity names and were unable to locate the alleged filing. Rynell

 20 Decl. ¶ 20.” (Mot. at 5:1-2.) Defendants’ argument fails for at least four reasons.

 21                      a. PCR’s Ownership Allegations Alone are Sufficient
 22        The Ninth Circuit has made clear that factual disputes about copyright
 23 ownership are not an appropriate subject of a motion to dismiss. Malibu Textiles, Inc.

 24 v. Label Lane Int'l, Inc., 922 F.3d 946, 952 (9th Cir. 2019) (reversing dismissal). Thus,

 25 the mere fact that PCR is not listed as the registered owner of certain of the copyrights

 26 is not a basis to grant the Motion. In fact, a case cited by Defendants considered—and

 27 rejected—an argument nearly identical to Defendants’:

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  1
            Defendants first argue that the Court should reject Plaintiff's allegation
            that he owns the copyrights to the Show because “judicially noticeable
  2         documents show that the allegation is false.” Specifically, they point to
  3         the fact that registrations recorded at the Copyright Office do not list
            Plaintiff as the claimant of any of the Show's copyrights . . . . Although
  4         a copyright certificate from the U.S. Register of Copyrights
  5         “constitute[s] prima facie evidence of the validity of the copyright,” 17
            U.S.C. § 410(c), it is only a rebuttable presumption and does not
  6         definitively resolve the ownership issue. . . . Plaintiff's mere allegation
  7         of ownership is sufficient to defeat a motion to dismiss under Rule
            12(b)(6). . . . Here, Plaintiff alleges that he is “the sole and exclusive
  8         owner” of the Show's copyrights, and the fact that the registrations
  9         recorded at the Copyright Office do not list him as a claimant is not
            definitive evidence that this allegation is false.
 10
      Payne v. Manilow, No. CV183413PSGPLAX, 2018 WL 6321638, *5 (C.D. Cal. Oct.
 11
      29, 2018) (emphasis added; citations and quotations omitted).
 12
            The FAC clearly and repeatedly alleges that PCR is the owner of the copyrights
 13
      in question. (FAC ¶ 69 (“Plaintiff owns copyrights in the Subject Works.”); see id. ¶¶
 14
      2-3, 6, 28-31, 70.) Regardless of what the copyright registrations show, that is more
 15
      than sufficient to overcome Defendants’ Motion.
 16
                          b. Defendants Offer No Competent Evidence to Dispute
 17
                             Ownership
 18
            On a Rule 12(b)(6) motion, the Court cannot even consider Defendants’
 19
      “evidence” disputing PCR’s ownership of the copyrights. As the Payne case cited by
 20
      Defendants makes clear, because Defendants are challenging statutory standing (i.e.,
 21
      copyright ownership) under Rule 12(b)(6), rather than Article III standing under Rule
 22
      12(b)(1), the Court “is restricted to considering materials that are part of the pleadings
 23
      and matters that may be appropriately taken under judicial notice.” Payne, 2018 WL
 24
      6321638 at *4.
 25
            Judicial notice may only be taken of “a fact that is not subject to reasonable
 26
      dispute.” Fed. R. Evid. 201(b). While a court may often properly take judicial notice
 27

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  1 on a motion to dismiss of a filing in a county recorder’s office, 3 a court may not take

  2 judicial notice of defense counsel’s representation as to what the San Diego

  3 Recorder’s Office’s recorder’s website does not contain. (Dkt. 47-6 ¶ 20.)

  4          Here, Defendants merely have evidence that they were not successful in
  5 locating a record. That is not the underlying facts. See United States v. Ritchie, 342

  6 F.3d 903, 909 (9th Cir. 2003) (finding reversible error in dismissing complaint based

  7 on DEA forfeiture counsel’s declaration attesting to the DEA’s attempts to provide

  8 notice to claimant; “The underlying facts relevant to the adjudication of this case—
  9 what notice procedures the DEA used, whether Horner had actual notice, and so on—

 10 do not remotely fit the requirements of Rule 201.”).

 11          Because Defendants’ extrinsic evidence is not a proper subject of judicial
 12 notice, it cannot be admitted on a motion to dismiss without converting it into a

 13 motion for summary judgment. See Fed. R. Civ. P. 12(d); Ritchie, 342 F.3d at 909.

 14                         c. Defendants Have Attempted to Mislead the Court About
 15                             the Evidence of PCR’s Ownership
 16          To the extent that extrinsic evidence is properly considered, it only confirms
 17 that Defendants’ “no ownership” argument should be rejected outright. Indeed, if

 18 Defendants’ counsel was “unable to locate” the fictitious business name filing
 19 showing that JAST USA is a dba of PCR, they must not have tried very hard.

 20          PCR’s counsel logged onto the San Diego County Recorder Office website’s
 21 Fictitious Business Name search page, entered “JAST USA” into the “Search By

 22 Name” tab, and found the applicable record in less than 30 seconds. (Pritikin Decl., ¶

 23 2.) The FBN filings reflect that JAST USA was indeed registered as a dba of PCR on

 24 July 31, 2019. (Id., ¶ 2 & Exh. A.) 4 It had also previously been registered as a dba in

 25
      The fact that a document is filed with or created by a public agency does not necessarily make it a
      3

 26 proper subject of judicial notice. See, e.g., Hennessy v. Penril Datacomm Networks, Inc., 69 F.3d
    1344, 1354 (7th Cir. 1995).
 27 4
      The FAC referenced the “Fictitious Business Name Statement number of 2019-9513905.” (FAC ¶
 28 24.) To be precise, this is the Proof of Publication (POP) number associated with the FBN. (Pritikin
                                                        6
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  1 2015, and was again registered in 2024. (Id., ¶ 3 & Exh. B.) Defendants’ assertion

  2 that JAST is not a dba of PCR—and thus that PCR has not properly pleaded

  3 ownership—is nothing more than a specious attempt to mislead the Court.

  4                         d. Defendants Only Raise a Partial Dispute as to Ownership
  5          Defendants only purport to dispute ownership as to four of the seven copyrights
  6 at issue in the FAC. In other words, Defendants only assert a defect as to part of

  7 PCR’s cause of action for copyright infringement. This is, at most, a basis for a motion

  8 to strike certain allegations under Rule 12(f), not a motion to dismiss under Rule
  9 12(b)(6). See, e.g., Thompson v. Paul, 657 F. Supp. 2d 1113, 1130 (D. Ariz. 2009)

 10 (“The Court is unaware, however, of any situation in which a Rule 12(b)(6) motion

 11 may be used to strike certain allegations in support of a claim . . . .”). Although

 12 Defendants move in the alternative to strike certain allegations, the allegations

 13 regarding PCR’s ownership of the four copyrights registered in the name of JAST

 14 USA are not among them. See Mot. at 19:20-22:16.

 15                  2.     PCR Has Adequately Alleged Valid Copyrights
 16          Defendants’ argument that PCR has not adequately alleged valid copyrights in
 17 the infringed works, like their no-ownership argument, is based on false premises.

 18                         a. PCR’s Copyrights Validly Include Text and Images
 19          Defendants assert that because the copyright registration were for “literary
 20 works,” that necessary excludes the images that accompany the text of the graphic

 21 novels in question. See Mot. at 6:14-17 (“Each of the seven copyrights are ‘text’

 22 copyrights and, as such, begin with the letters TX. Copyrights for visual materials are

 23 claimed in a different manner and are registered beginning with the letters VA for

 24

 25 Decl., ¶ 4 & Exh. C.) The FBN number itself is 2019-9018807. (Id., Exh. A.) But Defendants cannot
    rely on this minor discrepancy, because they specifically asserted that they “conducted searches by
 26 the filing number and all variations of the entity names and were unable to locate the alleged filing.”

 27 (Mot. at 5:1-2 (emphasis added).) In fact, FBN filings linking JAST USA as the dba of PCR
    Distributing Co. can be readily located whether one searches for the terms “PCR Distributing Co.,”
 28 “PCR,” “JAST USA,” or “JAST.” (Pritikin Decl., ¶¶ 2-3 & Exhs. A, B.)
                                                        7
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  1 ‘visual arts.’”). As is typical for Defendants, they cite no authority for this supposed

  2 distinction. It is a false dichotomy.

  3         Graphic novels and comic books, which encompass both text and images, can
  4 be registered either as literary works or visual arts:

  5         A cartoon or comic strip can be registered as a visual arts work or a
  6         literary work, depending on the nature of the work and the way it is
            presented. Generally, cartoons are considered works of the visual arts;
  7
            however, if textual elements are preponderant in a cartoon or comic
  8         strip, it should be registered as a literary work.
  9
      U.S. Copyright Office, “Cartoons and Comic Strips,” at 1, available at
 10
      https://www.copyright.gov/circs/circ44.pdf (emphasis added); see also James E.
 11
      Hawes and Bernard C. Dietz, Copyright Registration Practice, § 15:16 (2024 Update)
 12
      (“[I]f the textual elements in a comic strip are preponderant, registration should be
 13
      made on Form TX.”). The fact that PCR registered its copyrights in the graphic novels
 14
      in question as “literary works” using Form TX does not mean that there is no
 15
      protection in the associated images. 5
 16
            Defendants point out that some of the copyright registrations expressly exclude
 17
      artwork from the scope of the registration. (See, e.g., Mot. at 7:1-5.) But even as to
 18
      these works, the Court cannot determine on a motion to dismiss whether Defendants
 19
      have copied enough of the text to have committed infringement.
 20
            Defendants point to one page of a 24-page work and assert that the only
 21
      copyrighted content on that page is six dialogue bubbles and a caption. (Mot. at 9:1-
 22
      16.) But who says that a few dozen words on a page—particularly on each page of a
 23
     Even if there were some defect in registration, as noted in “Copyright Litigation Handbook”:
      5
 24    Inaccurate or problematic copyright registrations or inadequate descriptions of the
 25    copyrighted work . . . should not lead to dismissal of the complaint. Absent a showing that
       a copyright registrant has defrauded or made a deliberate misrepresentation to the
 26    Copyright Office, a presumption of regularity and appropriateness in filing is ordinarily
       subsumed in the presumption of validity that attaches to a certificate of copyright
 27    registration.
    Raymond J. Dowd, Copyright Litigation Handbook, § 9:11 (2d ed.).
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  1 multi-page work—cannot be copyrightable? As a Supreme Court case cited by

  2 Defendants points out, “the requisite level of creativity” for copyright protection “is

  3 extremely low; even a slight amount will suffice. The vast majority of works make

  4 the grade quite easily, as they possess some creative spark, no matter how crude,

  5 humble or obvious it might be.” Feist Publications, Inc. v. Rural Tel. Serv. Co., 499

  6 U.S. 340, 345 (1991) (quotation omitted).

  7         Defendants also suggest that images contained in the Subject Works would only
  8 be protected if the copyrights were registered as “audiovisual works.” (Mot. at 7:26-
  9 8:1.) In support of this assertion, Defendants provide a misleadingly incomplete

 10 definition of “audiovisual works.” Defendants state that “‘Audiovisual works’ are

 11 ‘works that consist of a series of related images which are intrinsically intended to be

 12 shown … together with accompanying sounds, if any…’”) (Mot. at 8 n.3) (citing 17

 13 U.S.C. § 101). What Defendants chose to omit is essential to the definition. The full

 14 definition of “audiovisual works” is “works that consist of a series of related images

 15 which are intrinsically intended to be shown by the use of machines, or devices such

 16 as projectors, viewers, or electronic equipment, together with accompanying sounds,

 17 if any, regardless of the nature of the material objects, such as films or tapes, in which

 18 the works are embodied.”) 17 U.S.C.A. § 101 (emphasis added). This category applies
 19 to movies and videos. Printed or digital graphic novels that contain only static images

 20 and written text would not qualify as audiovisual works. Defendants’ argument is a

 21 red herring. 6

 22         Tellingly, Defendants’ only case citation is to an 87-year-old opinion that held
 23 that the business concept for an insurance policy was not copyrightable. See Mot. at

 24 9:18-21 (citing Dorsey v. Old Sur. Life Ins. Co., 98 F.2d 872, 873 (10th Cir. 1938)).

 25

 26  Defendants point to one reference to copyrighted “videos” in the FAC. (Mot. at 8:3-4 (citing FAC
      6

    ¶ 47).) But this reference was made in the context of Defendants’ general business model. PCR did
 27 not assert that it owns copyrights in videos, or that Defendants have infringed any of PCR’s
    copyrights in videos.
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  1 That obviously has nothing to do with Defendants’ brazen online piracy of PCR’s

  2 graphic novels.

  3                      b. PCR Has Valid Copyrights in Its Translations
  4        Defendants suggest that Defendants only have copyrights in the English
  5 translations of the text in the Subject Works. (See Mot. at 10:5-6 (“Plaintiff has

  6 asserted copyrights that are allegedly ‘English language derivative works.’”) (quoting

  7 FAC ¶¶ 30, 69).) Here again, Defendants have misleadingly quoted the original.

  8 Plaintiff’s copyrights are alleged to include but are not necessarily limited to “English
  9 language derivative works.” See FAC ¶ 30 (“For the Subject Works, Plaintiff has

 10 entered into agreements with the original Artists or the assignees of the original Artists

 11 for the exclusive right to create and/or distribute English Language Derivative Works.

 12 For some of the Subject Works, the visual portions of the works must be re-drawn by

 13 Plaintiff, and Plaintiff contributes editorial and layout decisions for the Subject

 14 Works.”); id. ¶ 69 (“[F]or each of the Subject Works, Plaintiff has at least the

 15 exclusive rights to create and/or distribute English language derivative works. Such

 16 English language derivative works include text, images and layout choices that are

 17 the subject of registration with the Copyright Office.”) (emphasis added).

 18        In arguing that there is not enough originality in the translated words and
 19 phrases to be entitled to copyright protection, Defendants cite only to a single case,

 20 Signo Trading Int'l Ltd. v. Gordon, 535 F. Supp. 362 (N.D. Cal. 1981). (Mot. at 9:24-

 21 11:6.). In Signo, the content claimed to be subject to copyright was “approximately

 22 850 single words and approximately 45 short phrases, generally two or three words

 23 in length, such as ‘how are you.’” Signo, 535 F. Supp. at 364. The court held that this

 24 fell below the low threshold for originality required for copyrightability.

 25        In an attempt to shoehorn this case to fit Signo, Defendants cherry-pick a
 26 smattering of short phrases or sounds that were translated, such as “Yesss” or “plap.”

 27 (Mot. at 10:24-11:2.) But this ignores the numerous other instances where the

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  1 translations are of longer, more specific, and/or more nuanced sentences, such as

  2 “They say spring brings fresh starts” (Mot. at 9:3-4), or “Kumokawa, did you bring

  3 your second-semester course selection printout?” (Pritikin Decl. Exh. D). And in

  4 support of their argument on non-copyrightability, Defendants reproduce in their

  5 Motion only a single page of one of the protected works. (Mot. at 9:1-16.) Whether

  6 the seven copyrighted works asserted in the FAC, which total hundreds of pages in

  7 all, contain sufficient unique translated dialogue to be worthy of copyright protection

  8 cannot be determined in Defendants’ favor at the motion to dismiss stage, particularly
  9 on the existing incomplete record.

 10               3.    PCR Has Adequately Alleged Unauthorized Use
 11        The FAC repeatedly alleges that Defendants’ use of PCR’s copyright works
 12 was not authorized. (FAC ¶¶ 32, 50-51, 71-73.) In the face of these unambiguous

 13 allegations, Defendants argue that PCR has not alleged unauthorized use because,

 14 supposedly, “permission was expressly given.” (Mot. at 12:12.) In support of this,

 15 Defendants cite several emails in which PCR representatives purportedly gave

 16 Defendants permission to use the copyrighted works. (Mot. at 12:15-13:14 (citing

 17 Dkt. 47-1, 47-2, 47-3).) Once again, this argument fails for at least four reasons.

 18        First, the email chains are inadmissible as they have not been properly
 19 authenticated. Defendants likely declined to submit a declaration to authenticate these

 20 emails because they are still clinging to their effort to remain anonymous as long as

 21 possible. Thus, the emails were simply attached as “exhibits” to the Motion itself.

 22 Although defense counsel submitted a declaration attaching various Copyright Office

 23 filings, counsel seemingly recognized that she would have no basis in personal

 24 knowledge to authenticate these emails.

 25        Anticipating this problem, Defendants argue in a footnote that the emails are
 26 “authenticated due to their distinctive characteristics under Fed. R. Evid. 901(4).”

 27 (Mot. at 12 n.4.) In support, Defendants cite Brown v. Wireless Networks, Inc., No. C

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  1 07-4301 EDL, 2008 WL 4937827, at *4 (N.D. Cal. Nov. 17, 2008). (Id.) But in

  2 Brown, the exhibits objected were attached to a declaration. See id. at *4. Defendants

  3 offer no authority for the proposition that free-floating documents attached directly to

  4 a brief, without any testimony as to their provenance, are authentic.

  5        Defendants claim the “distinctive characteristics” that authenticate the emails
  6 are the fact that they “contain multiple chains (messages sent back and forth), contain

  7 verifiable indicia including names and titles of senders giving Nhentai.net the

  8 permissions at issue, and span across a number of years.” (Mot. at 12 n.4.) But these
  9 are the contents of the emails, or general features of any email, not distinctive

 10 characteristics that would authenticate these emails. Defendants do not have any

 11 admissible evidence to lay the foundation for any “distinctive characteristics.” For

 12 example, Exhibit 1 to the Motion is a purported email from David Goldberg to

 13 “hey@nhentai.net.” (Dkt. 47-1.) But Defendants have no evidence to show that this

 14 email was ever responded to or even received by whoever “hey” at nhentai.net is.

 15        Second, the emails cannot be considered on a motion to dismiss to contradict
 16 the well-pleaded allegations of the complaint asserting that Defendants’ use was

 17 unauthorized. (See, e.g., FAC ¶¶ 51, 71-73.) The Court cannot consider documents

 18 that are nowhere mentioned in the complaint and then use them to find that the facts
 19 are different than what the complaint alleges. As the Ninth Circuit has held:

 20        [I]f the document merely creates a defense to the well-pled allegations in
           the complaint, then that document did not necessarily form the basis of
 21
           the complaint. Otherwise, defendants could use the doctrine to insert
 22        their own version of events into the complaint to defeat otherwise
           cognizable claims.
 23

 24 Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 1002 (9th Cir. 2018). This is

 25 precisely the case here. The FAC squarely alleges that Defendants’ use was

 26 unauthorized, and Defendants want to use emails to “insert their own version of

 27 events” to defeat the claims in the FAC. This is impermissible.

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  1        Third, even if the emails could be considered on a motion to dismiss (they
  2 cannot), they show—at most—that at one point in time, PCR considered trying to

  3 work collaboratively with entities that were pirating its copyrighted works rather than

  4 litigate against them. Nonetheless, the FAC clearly alleges that efforts to resolve the

  5 disputes between the parties failed, and that Defendants have consistently failed and

  6 refused to comply with PCR’s DMCA takedown notices. (FAC ¶¶ 52-54.) Such

  7 evidence is hardly sufficient for the Court to conclude as a matter of law that

  8 Defendants’ use of PCR’s copyrighted works was authorized.
  9        B.     PCR’s Claims Are Not Time-Barred
 10        Defendants’ statute of limitations arguments fails for a similar reason as its no-
 11 unauthorized-use argument: it is based entirely documents that are extrinsic to and

 12 nowhere referenced in the operative complaint. Defendants argue that several email

 13 chains, attached as Exhibits 1 – 5 to the Motion, show that PCR was aware of the

 14 infringement as early as October 2020, more than three years before the suit was filed.

 15 (Mot. at 14:13-18.) But Defendants don’t cite a single case holding that those emails

 16 are admissible on a motion to dismiss to raise a statute of limitations defense that does

 17 not appear from the face of the complaint.

 18        The law in the Ninth Circuit is clear: “A claim may be dismissed under Rule
 19 12(b)(6) on the ground that it is barred by the applicable statute of limitations only

 20 when the running of the statute is apparent on the face of the complaint.” Von Saher

 21 v. Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 969 (9th Cir. 2010)

 22 (emphasis added, quotation omitted). Here, the earliest date mentioned on the face of

 23 the complaint is October 23, 2022, the date one of the infringing galleries was

 24 uploaded. (FAC ¶ 8.) This is less than two years before this suit was filed on August

 25 30, 2024—well within the statute of limitations.

 26        Moreover, when there are multiple instances of infringement, the statute begins
 27 again with each infringement. Petrella v. Metro-Goldwyn-Mayer, Inc., 572 U.S. 663,

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  1 671 (2014). A copyright infringement claim is subject to a three-year statute of

  2 limitations, which runs separately for each violation. 17 U.S.C. § 507(b). At the very

  3 least, Defendants have continued to make available a forum for user infringement,

  4 which they control and profit from. Thus, every time a user downloads or copies an

  5 infringed work that remains on the nHentai website, that resets the statute of

  6 limitations for, at a minimum, the contributory infringement, vicarious infringement,

  7 and inducement to infringement claims. See, e.g., Taylor v. Meirick, 712 F.2d 1112,

  8 1117 (7th Cir. 1983) (affirming judgment for plaintiff, where defendant could not
  9 avoid liability for third-party infringement that he continued to facilitate).

 10         Defendants’ repeated citations to Dorval v. Rahimi, No. 2:24-CV-01347-JLS-
 11 MRW, 2024 WL 3659601 (C.D. Cal. July 5, 2024), are thus unavailing. In Dorval,

 12 the complaint itself recited facts showing that the plaintiff was aware that the

 13 defendant’s license to use the plaintiff’s copyrighted works had expired more than

 14 three years before plaintiff filed the lawsuit. See Dorval, 2024 WL 3659601 at

 15 *1. Here, there is no statute of limitations defense discernable from the FAC.

 16         There is good reason why dismissal must be based on a statute of limitations
 17 defense apparent from the face of the complaint, and not from extrinsic evidence. By

 18 introducing only the extrinsic evidence that supports their theory, a defendant may
 19 not be presenting the whole story. Other facts may provide grounds for tolling the

 20 statute of limitations. See, e.g., Supermail Cargo, Inc. v. United States, 68 F.3d 1204,

 21 1206-07 (9th Cir. 1995) (“A motion to dismiss based on the running of the statute of

 22 limitations period may be granted only if the assertions of the complaint, read with

 23 the required liberality, would not permit the plaintiff to prove that the statute was

 24 tolled. In fact, a complaint cannot be dismissed unless it appears beyond doubt that

 25 the plaintiff can prove no set of facts that would establish the timeliness of the claim.”)

 26 (quotations and citations omitted).

 27         Defendants’ statute of limitations argument is also undercut by the fact that at
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  1 least some of the infringing works were (purportedly) uploaded as recently as three

  2 months ago. (Pritikin Decl., ¶ 6 and Exh. E. 7) The statute of limitations could not

  3 possibly have run on acts of infringement that didn’t even begin less than three years

  4 ago.

  5          Even if the Court were to consider Defendants’ extrinsic evidence on a motion
  6 to dismiss, Defendants have not developed the record sufficiently for the Court to

  7 determine which acts of infringement began more than three years before the suit was

  8 filed. Indeed, as discussed below in Part III.D, even as to galleries that were
  9 purportedly uploaded prior to August 2021, whether those listed upload dates are

 10 accurate or reliable is an open factual question.

 11          C.     The FAC Adequate Pleads Secondary Infringement Claims
 12          Defendants raise no arguments as to the deficiency of the secondary
 13 infringement claims in the FAC other than saying that they rise or fall along with the

 14 direct infringement claim. (Mot. at 16:15-25.) If the Court agrees that the direct

 15 infringement claim is adequately plead, then Defendants necessarily concede that the

 16 secondary infringement claims likewise must stand.

 17          D.     There Is No Basis to “Dismiss” PCR’s Requests for Statutory
 18                 Damages or Attorneys’ Fees
 19          Defendants argue that because some of the webpages containing infringing
 20 content purportedly indicate the content was uploaded before the copyrights were

 21 registered, statutory damages and attorneys’ fees are unavailable as a matter of law.

 22 (Mot. at pp. 17-19.) There are at least three reasons why this argument must fail.

 23                 1.      Defendants Once Again Offer No Competent Evidence
 24          Defendants’ argument hinges on the upload dates purportedly reflected on the
 25

 26   The work infringed in the referenced example is titled “Sexual Healing.” Defendants assert that
      7

    the associated URL “does not actually link to material that appears to be called or relate to ‘Sexual
 27 Healing.’” (Motion at 11:10-14.) Again, setting aside this this assertion raises, at most, an improper
    factual dispute, it is also wrong. See Pritikin Decl., ¶ 7 & Exhs. F, G.
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  1 applicable infringing nHentai.net web pages, which they claim predate the publication

  2 and/or copyright registration dates. (Mot. at 18:17-20, 19:6-18 (citing Rynell Decl.,

  3 ¶¶ 11-12).) But the declaration of Defendants’ counsel does not actually attach

  4 screenshots of these web pages as evidence of the listed upload dates. Instead,

  5 Defendants’ counsel merely represents to the Court that she recently visited these

  6 pages, and relates through her declaration what the content of these pages showed.

  7 See, e.g., Rynell Decl. (Dkt. 47-6) ¶ 11.

  8        Aside from creating improper factual disputes at the pleading stage, Defendants
  9 have done precisely what the best evidence rule forbids: attempt to prove the contents

 10 of a writing without introducing the writing itself. See Fed. R. Evid. 1002. None of

 11 the exceptions to the best evidence rule would apply here to excuse Defendants’

 12 failure to attach screenshots from the webpages to prove the webpages’ contents.

 13 NHentai’s websites have not been “lost or destroyed”; Defendants, not PCR, have

 14 “control of the original”; and the websites’ are “closely related to a controlling

 15 issue”—Defendants’ argument on statutory damages and attorney’s fees depends on

 16 them. Fed. R. Evid. 1004(a)-(d). Nor would a handful of screenshots be so

 17 “voluminous” as to permit defense counsel’s “summary” of them to substitute for the

 18 originals’ production. See Fed. R. Evid. 1006. The Federal Rules of Evidence do not
 19 permit defense counsel to say, in effect, “Just trust me about what the documents

 20 actually say.” This is reason alone to reject Defendants’ argument.

 21               2.    Defendants Raise Disputed Factual Questions as to PCR’s
 22                     Entitlement to Statutory Damages or Attorneys’ Fees
 23        Even if the Court were to consider counsel’s representation as to what the
 24 documents show as evidence, given that Defendants operate a pirate website, it is

 25 entirely possible that the purported “upload” dates are not accurate (whether by

 26 intentional design or otherwise). Discovery will need to be taken to understand

 27 Defendants’ uploading processes and timetables and determine whether the listed

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  1 upload dates are reliable. Unless and until that happens, when the infringement began,

  2 and whether PCR is potentially entitled to statutory damages or attorneys’ fees, is an

  3 open question. See May v. Sony Music Ent., 399 F. Supp. 3d 169, 194 (S.D.N.Y. 2019)

  4 (denying motion to dismiss claim for statutory damages and attorneys’ fees; “[T]he

  5 evidence may well confirm that the alleged series of acts are sufficiently related to

  6 bar statutory damages and attorney's fees. . . . At this stage, however, the Court cannot

  7 conclude that there are no aspects of the alleged infringing acts that would not

  8 constitute a new infringing act for purposes of the registration rule.”).
  9        It is far too premature to make this factual determination about how nHentai.net
 10 operates. Indeed, despite this case being filed seven months ago, the owners and

 11 operators of nHentai.net are still fighting to avoid disclosing their very identities!

 12               3.     Defendants Only Raise a Partial Challenge to PCR’s Right to
 13                      Statutory Damages or Attorneys’ Fees
 14        Defendants do not establish that all of the alleged acts of infringement occurred
 15 prior to the registration of the works in question. They again cherry pick a couple of

 16 examples of infringement that (purportedly) commenced prior to registration, and

 17 ignore other examples that don’t support their theory. For example, Exhibit C to the

 18 FAC (conveniently ignored by Defendants) references a copyrighted work owned by
 19 PCR called “Sexual Healing.” This work was registered on May 7, 2024. (Dkt 47-13

 20 at 1.) But the corresponding nHentai.net web page referenced on Exhibit C to the FAC

 21 indicates that the infringing work was first published in mid-December 2024—well

 22 after registration. (Pritikin Decl., Exh. E.)

 23        Defendants cannot establish that PCR is not entitled as a matter of law to
 24 statutory damages or attorneys’ fees for all of its copyrighted works. Thus, this is a

 25 disputed issue of fact for another day, not a motion to dismiss.

 26        E.     NHentai Provides No Basis to Strike Portions of the Complaint
 27        Defendants seek to strike three categories of allegations. As with Defendants’
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  1 other arguments, these arguments are not just meritless, but bordering on frivolous.

  2               1.    There is No Basis to Strike Allegations as to www.nhentai.to
  3        Defendants seek to strike the allegation that the Defendant owners and
  4 operators of nHentai.net “also own and operate the URL nHentai.to.” (Mot. at 19:14-

  5 15 (quoting FAC ¶ 11). Of course, it is hardly unheard of for businesses to operate the

  6 same domain name under different registers (e.g., “.com,” “.net,” etc.)—sometimes

  7 for legitimate purposes, sometimes to defeat enforcement efforts. Defendants’ only

  8 basis for striking the allegation regarding nhentai.to is that, “[a]s discussed in a
  9 hearing before Magistrate Richlin, the website nhentai.to is completely unrelated to

 10 www.nhentai.net.” (Mot. at 19:15-16.)

 11        Whatever defense counsel may have argued before Magistrate Richlin is just
 12 that—argument, not evidence. Even if defense counsel’s argument could be given any

 13 weight in the face of allegations to the contrary, Defendants don’t even bother

 14 attaching relevant excerpts of the transcript of that unidentified hearing at which this

 15 was “discussed.” And the declaration submitted by defense counsel doesn’t even

 16 mention www.nHentai.to at all. Defendants’ argument is based on speculation and

 17 hearsay, not evidence—and certainly not based on the allegations in the complaint.

 18               2.    There is No Basis to Strike Allegations as to Defendants’
 19                     Pattern and Practice of Copyright Infringement
 20        Defendants seek to strike allegations that Defendants have infringed on the
 21 rights of numerous copyright holders, not just PCR. (Mot. at 20:23-21:22.)

 22 Defendants characterize this as PCR “purport[ing] to plead the rights of all other

 23 individuals and/or entities” who have been harmed by Defendants. (Mot. at 20:24.) In

 24 reality, the fact that widespread infringement is central to Defendants’ business model

 25 (see FAC ¶¶ 66, 75, 80, 92, 100, 113) goes to, among other things, the willfulness of

 26 Defendants’ infringement. See, e.g., Swallow Turn Music v. Wilson, 831 F. Supp. 575,

 27 580 (E.D. Tex. 1993) (willfulness includes “knowing that the normal course of

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  1 business involves a pattern of repeated copyright infringements. Should [this] occur,

  2 then ‘willfulness’ proven as to the course of business will suffice for ‘willfulness’ for

  3 any particular occurrence of copyright infringement.”).

  4        Defendants’ willfulness, in turn, is relevant to their potential liability for
  5 enhanced statutory damages. See 17 U.S.C.A § 504(c)(2); Wildlife Exp. Corp. v. Carol

  6 Wright Sales, Inc., 18 F.3d 502, 514 (7th Cir. 1994) (evidence that defendant viewed

  7 infringement as “cost of doing business” supported finding of willfulness and

  8 enhanced damage award; “Increased statutory damages may be necessary in a
  9 particular case to prove that it costs less to obey the copyright laws than to violate

 10 them.”).

 11        Defendants’ pattern and practice of infringement, and the profitability of that
 12 course of conduct, is also relevant to the factors a court can considers in deciding

 13 whether to award attorneys’ fees, including “motivation” and “deterrence.” Fogerty

 14 v. Fantasy, Inc., 510 U.S. 517, 534 n.19 (1994). Because Defendants’ business relies

 15 on habitual infringement, their motivation to infringe is greater and thus the need for

 16 deterrence is greater. This is nothing “immaterial” about these allegations.

 17               3.     There is No Basis to Strike the Relief Requested
 18        Defendants argue that PCR has engaged in “extreme overreach” in requesting,
 19 among other relief, disabling Defendants’ websites or transferring their domain names

 20 to PCR. (Mot. at 21:23-22:4 (citing FAC at 22-23).)

 21        Defendants’ argument is based entirely on their assertion that the webpages
 22 PCR complains of constitute “less than one percent” of the nhentai.net website. (Mot.

 23 at 22:1-3.) Once again, this is merely an assertion unsupported by evidence. The FAC

 24 alleges that the infringing pages identified to date do not necessarily reflect all

 25 instances of infringement. See FAC ¶ 29. Exactly how much of Defendants’ website

 26 infringes on PCR’s copyrights cannot be determined as a matter of law at this point.

 27        Moreover, Defendants do not cite any authority holding that the requested relief
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  1 would not be available. See 17 U.S.C. § 502(a) (court may grant “injunctions on such

  2 terms as it may deem reasonable to prevent or restrain infringement of a copyright.”).

  3 Courts have broad discretion to award injunctive relief as necessary to effectively

  4 prevent further wrongdoing—even if that involves proscribing otherwise lawful

  5 conduct. See, e.g., Capitol Recs., Inc. v. Thomas-Rasset, 692 F.3d 899 (8th Cir. 2012)

  6 (reversing trial court’s refusal to grant broader injunction; “The district court is even

  7 permitted to enjoin certain otherwise lawful conduct where the defendant's conduct

  8 has demonstrated that prohibiting only unlawful conduct would not effectively protect
  9 the plaintiff's rights against future encroachment.”) (citations and quotations omitted).

 10         Indeed, other courts have granted precisely the type of relief being requested in
 11 the FAC. See, e.g., Will Co. v. Lee, No. C20-5802 BHS, 2025 WL 43121 at *2 (W.D.

 12 Wash. Jan. 7, 2025) (ordering disabling of domain names and transfer to copyright

 13 infringement plaintiff); DISH Network L.L.C. v. Dima Furniture, Inc., 2019 WL

 14 2498224 at *8-9 (D. Md. June 17, 2019) (same).

 15         And given that Defendants have repeatedly disregarded PCRs’ DMCA
 16 takedown notices (FAC ¶¶ 6, 61-63), there is good reason to believe that nothing short

 17 of wresting control of their websites—or blocking access to them—will prevent

 18 further infringement. See, e.g., Disney Enterprises, Inc. v. Delane, 446 F. Supp. 2d
 19 402, 408 (D. Md. 2006) (granting permanent injunction where defendant “potentially

 20 has facilitated the download of far more than just the eleven programs listed in

 21 Plaintiffs’ Exhibit A, and may continue to do so”).

 22         Indeed, the FAC’s allegations about Defendants’ infringement of other
 23 copyright holders’ works strengthen the case for either transferring the domain names

 24 or blocking user access to the sites. Where a website has no legitimate purpose or is

 25 used primarily for infringement, there is little reason not to curtail its operations in an

 26 effort to avoid further wrongdoing. See, e.g., In re Aimster Copyright Litig., 334 F.3d

 27 643, 653 (7th Cir. 2003) (affirming grant of preliminary injunction effectively

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  1 shutting down website where “defendants here have provided no evidence whatsoever

  2 (besides    the unsupported declaration of Deep) that [defendants’ website]
  3 is actually used for any of the stated non-infringing purposes.”) (original emphasis).

  4        F.     If The Court Grants Defendants’ Motion to Dismiss In Any Respect,
  5               It Should Grant PCR Leave to Amend the Complaint
  6        Defendants’ repeated requests to dismiss the FAC with prejudice (Motion at
  7 1:4, 11:6, 16:13, 16:25) ignore the strong policy favoring amendments. Indeed, this

  8 Court’s standing order notes that “the Ninth Circuit requires the policy favoring
  9 amendment to be applied with ‘extreme liberality.’” (Dkt. 49 at 9:19-24.) The Motion

 10 itself concedes that “leave to amend should be granted ‘unless the court determines

 11 that the allegation of other facts consistent with the challenged pleading could not

 12 possibly cure the deficiency.’” (Mot. at 3:14-16 (quoting DeSoto v. Yellow Freight

 13 Sys., Inc., 957 F.2d 655, 658 (9th Cir. 1992).) Defendant cannot remotely establish

 14 that amendment would be futile.

 15 IV.    CONCLUSION
 16        For the foregoing reasons, this Court should deny Defendants’ Motion in its
 17 entirety or, alternatively, grant PCR leave to further amend the FAC.

 18
 19 Dated: March 7, 2025                 Respectfully submitted,
 20
                                         By: /s/ Eric Bjorgum
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 22                                      BJORGUM LAW PC
                                         Attorneys for Plaintiff
 23                                      PCR Distributing Co.
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            PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS AND STRIKE FAC
Case 2:24-cv-07453-CV-AJR    Document 53 Filed 03/07/25       Page 27 of 28 Page ID
                                     #:742




  1                         CERTIFICATE OF WORD COUNT
  2        The undersigned, counsel of record for Plaintiff, PCR Distributing Co,
  3 certifies that this brief contains 6,977 words, according to the word count feature of

  4 the computer program used to prepare this brief, which complies with the word limit

  5 of L.R. 11-6.1.

  6

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            PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS AND STRIKE FAC
Case 2:24-cv-07453-CV-AJR     Document 53 Filed 03/07/25      Page 28 of 28 Page ID
                                      #:743




  1                            CERTIFICATE OF SERVICE
  2        I hereby certify that on March 7, 2025, I electronically filed the foregoing
  3 document with the Clerk of the Court using the CM/ECF system which sent

  4 notification of such filing to the following:

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            PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS AND STRIKE FAC
